            Case 2:20-cv-01906-RFB-DJA Document 1 Filed 10/13/20 Page 1 of 5



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 7

 8                                UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10      JOSELLE RUSCITO-WILLIAMS, an
        individual,
11
                                       Plaintiff,
12                                                                   COMPLAINT
                 vs.                                              AND JURY DEMAND
13
        NRA GROUP, LLC d/b/a NATIONAL
14      RECOVERY AGENCY, a Foreign limited-
        liability company,
15
                                       Defendant.
16

17          Plaintiff, Joselle Ruscito-Williams (hereinafter “Plaintiff”), by and through counsel,

18 Cogburn Law, hereby complains against Defendant as follows:

19 I.       PRELIMINARY STATEMENT

20          1.         This is an action for damages brought by an individual consumer for Defendant’s

21 violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter

22 “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive, and unfair

23 practices.

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                                                    Page 1 of 5
            Case 2:20-cv-01906-RFB-DJA Document 1 Filed 10/13/20 Page 2 of 5



 1 II.     JURISDICTION AND VENUE

 2         A.      JURISDICTION OF THE COURT

 3         2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d).

 4         B.      VENUE

 5         3.      Venue is proper in this District Court, particularly its unofficial southern district,

 6 pursuant to 28 U.S.C. § 1391(b).

 7 III.    PARTIES

 8         4.      Plaintiff is a natural person residing in Clark County, Nevada.

 9         5.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(c).

10         6.      Upon information and belief, NRA Group, LLC dba National Recovery Agency

11 (hereinafter “NRA”) is a Collection Agency engaged in the business of collecting debts by use of

12 the mails and telephone, and regularly attempts to collect debts alleged to be due another.

13         7.      Upon information and belief, NRA is a foreign entity licensed in the State of

14 Pennsylvania and doing business in Nevada.

15         8.      Upon information and belief, NRA was registered with the State of Nevada as a

16 Collection Agency or as a foreign collection agency, License No. CA10205, but the registration

17 expired on June 30, 2020.

18         9.      NAR is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6) trying

19 to collect a “debt” as defined by 15 U.S.C. § 1692a(5).

20 IV.     GENERAL ALLEGATIONS

21         10.     Plaintiff received a debt collection notice from NRA after it was sent via mail on

22 September 11, 2020 (account ending XXX6458 and hereinafter the “NRA Stale Collection

23 Account”).

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                                                Page 2 of 5
             Case 2:20-cv-01906-RFB-DJA Document 1 Filed 10/13/20 Page 3 of 5



 1           11.    The NRA Collection Notice demanded payment for a Collectibles Network

 2 Account resulting from a transaction on April 9, 2014.

 3           12.    The statute of limitations under NRS 11.190(1)(b) imposes a six-year statute of

 4 limitations for breach of contract.

 5           13.    The April 9, 2014, NRA Stale Collection Account was for an alleged transaction

 6 more than six years before the NRA Collection Notice.

 7           14.    On or about September 21, 2020, Plaintiff served a debt validation request on NRA

 8 advising of the debt being past the statute of limitations.

 9           15.    NRA failed to respond to the debt validation request.

10           16.    NRA has and continues to collect an unlawful amount in violation the

11 NRS 11.190(10(b) statute of limitations.

12           17.    Upon information and belief, Plaintiff paid the account at the time of purchase or

13 after the invoicing was received in 2014.

14           18.    Plaintiff owed no money to the Collectibles Network following the 2014 payment.

15 V.        CLAIMS FOR RELIEF

16
                                   FIRST CLAIM FOR RELIEF
17                 (Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692)

18           19.    Plaintiff realleges and incorporates all preceding paragraphs as if fully set out

19 herein.

20           20.    Defendant was negligent and/or willful, rendering it liable for attempting to collect

21 an improper balance due, fees, interests and/or expenses not authorized or permitted by law, and

22 in violation of 1692f(1), including seeking the collection of debt past the statute of limitations.

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                                                Page 3 of 5
            Case 2:20-cv-01906-RFB-DJA Document 1 Filed 10/13/20 Page 4 of 5



 1          21.    Defendant’s conduct was negligent or willful or both, rendering it liable for failing

 2 to cease collection of an alleged debt, and not providing proper verification of the debt to the prior

 3 to initiating a lawsuit, in violation of 1692g(b).

 4          22.    As a result of the foregoing violations, Defendant is liable for actual damages,

 5 including general damages and special damages in an amount to be proven at trial, but not less

 6 than up to $1,000 per violation, pursuant to 1692k(a)(1).

 7          23.    As a result of the foregoing violations, Defendant is liable for actual damages,

 8 including general damages and special damages in an amount to be proven at trial, but not less

 9 than up to $1,000 per violation, pursuant to 1692k(a)(2)(a).

10          24.    As a result of the foregoing violations, Defendant is liable for costs and reasonable

11 attorney fees pursuant to 1692k(a)(3).

12          25.    Plaintiff hereby prays for actual damages under the FDCPA, and for statutory

13 damages as set forth above for each and every violation of the Fair Debt Collection Practices Act

14 proven at the trial of this case, and reasonable attorney fees and costs thereunder.

15          26.    An actual controversy has arisen and now exists between the parties concerning

16 their respective rights and duties under the FDCPA. A judicial declaration that Defendant’s actions

17 violated the FDCPA is necessary so that all parties may ascertain their rights and duties under the

18 law.

19 VI.      PRAYER FOR RELIEF

20          WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

21 Defendant, on all counts, for the following:

22          1.     Declaratory judgment that Defendant’s conduct violated the FDCPA;

23          2.     Actual damages;

24          3.     Statutory damages;


                                                Page 4 of 5
           Case 2:20-cv-01906-RFB-DJA Document 1 Filed 10/13/20 Page 5 of 5



 1         4.      Punitive damages;

 2         5.      Costs and reasonable attorney fees; and

 3         6.      For such other and further relief as may be just and proper.

 4 VII.    JURY DEMAND

 5         Pursuant to Fed. R. Civ. P. 38(b) and the Seventh Amendment to the United States

 6 Constitution, Plaintiff hereby demands a jury trial.

 7         Dated this 13th day of October, 2020.

 8                                               COGBURN LAW

 9

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